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             EXHIBIT 24
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                                                   FILED
 1                                         2024 MAR 15 04:01 PM
                                               KING COUNTY
                                                        HONORABLE ANDREA K. ROBERTSON
 2                                        SUPERIOR COURT CLERK
                                                  E-FILED
 3                                        CASE #: 23-2-20447-6 SEA

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 8
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 9                               IN AND FOR KING COUNTY

10   VALVE CORPORATION,
                                                         Case No. 23-2-20447-6 SEA
11                     Plaintiff,
                                                         ORDER DENYING DEFENDANTS’
12          v.                                           MOTION TO DISMISS OR FOR
                                                         SUMMARY JUDGMENT
13   BUCHER LAW, PLLC, AFN LAW PLLC,
     and JOHN DOE CORPORATION,
14
                       Defendants.
15

16
            THIS MATTER having come before this Court on Defendants Bucher Law PLLC, and
17
     AFN Law, PLLC’s (“Defendants”) Motion to Dismiss or for Summary Judgment, and the Court
18
     having considered the materials on file on this issue, and having heard oral argument on March
19
     15, 2024, and being fully advised, now, therefore the Court finds as follows:
20
            Under CR 12(b)(6), dismissal is warranted only if the Court concludes, beyond a
21
     reasonable doubt, the plaintiff cannot prove any set of facts which would justify recovery. It is
22
     well-established that such motions should be granted “sparingly and with care.”
23

24
25



     ORDER DENYING DEFENDANTS’
     MOTION TO DISMISS OR FOR SUMMARY JUDGMENT- 1
          Case 2:21-cv-00563-JNW                 Document 471-24            Filed 06/26/25         Page 3 of 5




 1                                               Sufficiency of Claims

 2           Valve has alleged sufficient facts to establish a plausible claim of tortious interference

 3   which survives a CR 12(b)(6) motion. This applies to both the attorney Defendants as well as the

 4   Funder.

 5           Valve has also alleged sufficient facts to plausibly allege a claim of abuse of process,

 6   particularly given the unique circumstances of the case and the terms of the SSA.

 7
                                                  Litigation Privilege
 8
             Defendants claim that the litigation privilege insulates its conduct entirely, but the privilege
 9
     does not extend to every circumstance which bears some relation to a judicial proceeding.
10
     Additionally, the conduct and statements challenged by Valve occurred in large part outside of
11
     “the course of court proceedings” overseen by a judge, and to the degree that these actions led to
12
     thousands of potential individual arbitrations, there is arguably no viable remedy for Valve to seek
13
     relief. Immunity is not usually extended to settings where judicial authority lacks “the power to
14
     discipline as well as strike from the record statements which exceed the bounds of permissible
15
     conduct.” Twelker v. Shannon & Wilson, Inc., 88 Wn.2d 473, 476 (1977), cited with approval in
16
     Young v. Rayan, 27 Wn.App.2d 500, 510, rev den, 539 P.3d 4 (2023).1
17
             Defendants do not sufficiently support an argument to extend the litigation privilege
18
     regarding a claim of an abuse of process.
19
                                                         UPEPA
20
             Defendants claim that UPEPA applies and this suit infringes on Defendants’ rights of
21
     freedom of speech or association. The Court is not convinced that UPEPA applies to this context
22
     after careful consideration of the arguments advanced by counsel. While it is not necessary to
23
     make further findings, the Court will do so in an abundance of caution.
24
25   1
      The Court acknowledges that Rayan has rejected the “public policy” exception to the litigation privilege premised
     upon a defendant’s intent. However, Rayan still requires an assessment of whether a recourse exists for those
     harmed by “privileged” statements.

     ORDER DENYING DEFENDANTS’
     MOTION TO DISMISS OR FOR SUMMARY JUDGMENT- 2
           Case 2:21-cv-00563-JNW                  Document 471-24              Filed 06/26/25         Page 4 of 5




 1            The Court finds a statutory exception to UPEPA in this matter, as the plain language of

 2   RCW 4.105.010(3)(a)(iii) does not apply the statute to a claim brought “against a person . . . selling

 3   . . . services if the cause of action arises out of a communication related to the person’s sale … of

 4   the …. services.” Such is the context of the Defendants’ actions addressed by this suit. There is

 5   a dearth of Washington case law to guide the Court in determining the extent of this exception, but

 6   Valve appropriately guides the Court to Kostura v. Judge, 627 SW.3d 380 (2021). Kostura

 7   analyzes the plain language of Texas’ Citizens’ Participation Act,2 more similar to Washington’s

 8   statutory language than the California act addressed in the Taheri case cited by Defendants.
 9            IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss is DENIED.

10
                                                        Fees Request
11
              Plaintiff Valve Corporation seeks an award of its fees and costs, under RCW 4.105.090,
12
     which is mandatory if responding party prevails on the motion and the court finds that motion was
13
     “not substantially justified” 3 or it was “filed with intent to delay the proceeding.”
14
     There is no argument to support the latter, and this Court finds at least some justification for raising
15
     the issue, particularly as there is limited law in this area. The request for fees under UPEPA is
16
     DENIED.
17
              IT IS SO ORDERED. DATED this 15th of March, 2024.
18

19                                                          __Electronic signature to follow___________
                                                            HONORABLE ANDREA K. ROBERTSON
20
     2
       The Kostura court analyzes how Texas law differs from the California statute analyzed in Taheri Law Group v
21   Evans. Taheri carves out “lawyer advice to a prospective client on pending litigation” from the “commercial-
     speech” exemption. 160 Cal.App.4th 482 (2008). The Texas law does not. This Court finds Defendant’s reliance
22   upon the Schimmel case less helpful, given its context. 438 S.W.3d 847 (2014)
     3
       The term “substantially justified” has been defined in other statutory contexts related to an award of fees: a)
23   “Substantially justified meaning “… justified to a degree that would satisfy a reasonable person.” Raven v. Dep't of
     Soc. & Health Servs., 177 Wn.2d 804, 832 (2013), Jones v. Washington State Dep't of Lab. & Indus., 17 Wn.App.2d
24   437, 448 (2021); b) “Substantial justification requires the State to show that its position has a reasonable basis in law
     and fact.” Const. Indus. Training Council, 96 Wn.App. 59, 68 (1999), Cobra Roofing Serv., Inc. v. Dep't of Lab. &
25   Indus., 122 Wash. App. 402, 420 (2004), aff'd on other grounds, 157 Wn.2d 90 (2006)



     ORDER DENYING DEFENDANTS’
     MOTION TO DISMISS OR FOR SUMMARY JUDGMENT- 3
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                            King County Superior Court
                         Judicial Electronic Signature Page

Case Number:        23-2-20447-6
Case Title:         VALVE CORP VS BUCHER LAW ET ANO

Document Title:     ORDER RE DENIAL DEFENDANTS MOT TO DISMISS


Signed By:          Andrea Robertson
Date:               March 15, 2024




                    Judge : Andrea Robertson




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